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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 15-CIV-60968-COHN/SELTZER

  JENNIFER YOUNG, as the Administratix
  and personal representative of the estate of
  JERMAINE MCBEAN,

                Plaintiff,
  v.

  PETER PERAZA, et. al.,

             Defendants.
  __________________________________________/

       DEFENDANT, PETER PERAZA’S, MOTION FOR FINAL SUMMARY
          JUDGMENT AND MEMORANDUM OF LAW IN SUPPORT

         COMES NOW the Defendant, PETER PERAZA (Peraza), by and through his

  undersigned attorneys, and pursuant to Fed. R. Civ. P. 56(b) and this Court’s Local Rule

  56.1, moves for the entry of an Order granting final summary judgment in his favor, and

  as grounds states:

  Background and introduction

         Plaintiff filed this action against multiple defendants, including Peraza, arising out

  of the shooting of Jermaine McBean on July 31, 2013. See (DE 133). Peraza is a Broward

  Sheriff’s Office (BSO) deputy. (DE 133), ¶ 4. After the Court dismissed various claims

  and parties, see (DE 143), the only remaining claims against Peraza are Plaintiff’s claims

  alleging “unlawful use of deadly force under 42 U.S.C. § 1983” (Count I) and a battery

  resulting in “wrongful death (under Florida law).” (DE 143, at p. 24); see (DE 133, counts

  I and XI).
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         In this motion and memorandum, Peraza cites to his concurrently-filed Statement of

  Undisputed Material Facts in support of this motion thusly:

         Facts at (paragraph number).

  Additionally, Peraza cites to his Appendix to this motion thusly:

         App. (tab letter); (page or paragraph number), (line number, if applicable).

  Motion for final summary judgment

         1.      Plaintiff has sued Peraza under 42 U.S.C. §1983 claiming “unlawful use of

  deadly force” and under Florida law for battery. (DE 133, counts I and XI).

         2.      The undisputed facts establish that Peraza’s use of deadly force was

  objectively reasonable and not clearly excessive. Consequently, there is no viable

  underlying constitutional violation or common law battery.

         3.      There is no genuine issue as to any material fact. Deputy Peraza is entitled

  to judgment as a matter of law on Plaintiff’s claims.

         WHEREFORE, Defendant, Peter Peraza, respectfully requests that this Honorable

  Court enter an order granting summary judgment in his favor and enter final judgment

  accordingly.

  Undisputed Facts

         McBean suffered from significant and serious mental health issues along the

  psychotic and mood spectrums. Facts at ¶ 1. On July 25, 2013, one week before the

  incident date, McBean suffered a psychotic episode at his workplace and was involuntarily

  hospitalized under the Baker Act. Facts at ¶ 13.


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         On July 31, 2013, McBean went to Crown Pawn Shop looking to buy a shotgun.

  Facts at ¶ 17. After the store manager informed McBean they did not sell firearms, McBean

  then inquired about an air rifle hanging on the wall. Facts at ¶ 17. After purchasing the air

  rifle, the manager offered to hold on to the rifle and have McBean pick it up later, as the

  rifle looked real and openly walking with it along the highway would not be a good idea.

  Facts at ¶ 18. However, McBean wanted the rifle immediately, so the manager wrapped

  the rifle in two black garbage bags and told McBean to keep it in the bags. Facts at ¶ 18.

         After leaving the store McBean headed north on foot on Dixie Highway. Facts at ¶

  20. At some point he decided to unwrap the weapon and carry it in a fashion that drew

  attention to himself. Facts at ¶ 20. Several concerned citizens called 911 to report an

  individual openly carrying what appeared to be a shotgun or rifle. Facts at ¶ 20. McBean’s

  demeanor was observed as walking fast, mumbling or grunting to himself, looking

  distraught, stomping, in a state of uneasiness, and aggressive. Facts at ¶ 22.

         Four BSO deputies were dispatched to the scene. Facts at ¶¶ 23-27. Dispatch

  informed the deputies to be on the lookout for a black male with a shaved head wearing a

  white shirt and blue jeans walking or marching northbound on Dixie Highway holding a

  rifle. Facts at ¶ 23. Peraza was one of the deputies to respond. Facts at ¶ 28. Upon arrival

  Peraza saw McBean walking with the rifle. Facts at ¶ 33. As Peraza drove past McBean in

  his marked police vehicle with emergency lights on and without sirens, McBean began to

  walk faster and changed positions of the rifle. Facts at ¶ 33. Peraza believed that McBean

  had seen him. Facts at ¶ 33. Peraza lost sight of McBean when Peraza went to block traffic


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  and feared that McBean was gaining a tactical advantage. Facts at ¶ 34.

         The deputies responded to McBean’s last known location, which was Greentree

  Apartments, a square residential apartment complex. Facts at ¶ 35. Greentree Apartments

  has a community pool located behind the rental center at the front of the complex. Facts at

  ¶ 35. Peraza and the other deputies pursued McBean on foot into the Greentree Apartments.

  Facts at ¶ 36. The deputies saw McBean holding what appeared to be a real rifle. Facts at

  ¶ 45. The deputies repeatedly yelled commands at McBean to “stop,” “police,” and “drop

  the weapon.” Facts at ¶ 46. The commands were extremely loud, such that they could be

  heard bouncing off the buildings in the courtyard. Facts at ¶46.

         McBean did not drop the weapon. Facts at ¶ 48. The level of perceived risk increased

  as McBean disregarded the deputies’ clear loud verbal commands to stop and drop his

  weapon. Facts at ¶ 49. When Peraza and another deputy closed the gap to about 5 to 10

  feet, McBean made an abrupt stop. Facts at ¶ 50. After McBean stopped, he began to move

  his rifle over the top of his head. Facts at ¶ 53. Deputies again immediately yelled “drop

  the rifle, don’t turn around with the rifle, drop the rifle.” Facts at ¶ 53. However, McBean

  continued to turn with the rifle while spinning his body. Facts at ¶ 53. The rifle turned

  toward the occupied pool area and continued to turn toward the deputies. Facts at ¶ 53.

  McBean then brought his weapon toward the deputies and assumed a firing stance. Facts

  at ¶ 54. Peraza fired his weapon when McBean pointed the rifle at him. Facts at ¶ 58. Peraza

  fired three shots, striking McBean twice. Facts at ¶ 58. The deputies transmitted over the

  radio that shots were fired and requested paramedics and a rescue team, but McBean died.


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  Facts at ¶62.

  Memorandum of Law

         A.       No predicate Fourth Amendment violation – the use of deadly force was
                  reasonable

         The Supreme Court recognizes that the right to make an arrest “necessarily carries

  with it the right to use some degree of physical coercion or threat thereof to effect it.”

  Graham v. Connor, 490 U.S. 386 (1989); Rodriguez v. Farrell, 280 F.3d 1341, 1352 (11th

  Cir. 2002). Force is evaluated from a purely objective standpoint and, if objectively

  reasonable, comports with the Fourth Amendment. Zivojinovich v. Barner, 525 F.3d

  1059, 1072 (11th Cir. 2008). The “calculus of reasonableness must embody allowance for

  the fact that police officers are often required to make split-second judgments in

  circumstances that are tense, uncertain and rapidly evolving - about the amount of force

  that is necessary in a particular situation.” Graham, 490 U.S. at 396-97. It is important

  that a “reviewing court judge the use of force ‘from the perspective of a reasonable officer

  on the scene, rather than with 20/20 hindsight,’ and refrain from slipping into the role of a

  Monday-morning quarterback.” Fernandez v. City of Cooper City, 207 F.3d 1371, 1377

  (S.D. Fla. 2002)(Middlebrooks, J.).

         In the Eleventh Circuit, there are secondary factors to be evaluated in connection

  with assessing objective reasonableness: (1) the need for the application of force; (2) the

  relationship between the need and amount of force used, and (3) the extent of injury

  inflicted. Draper v. Reynolds, 369 F.3d 1270, 1277-78 (11th Cir. 2004) (quoting Lee v.

  Ferraro, 284 F.3d 1188, 1198 (11th Cir. 2002)). Ultimately, the appropriate inquiry is

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  “whether the officers’ actions are ‘objectively reasonable’ in light of the facts and

  circumstances confronting them, without regard to their underlying motivation.’” Id.

  Particularly important to this case is that force is analyzed only from the perspective of a

  reasonable officer on scene at the time the force was used, without consideration of

  extraneous factors, such as conjecture as to whether differing police tactics may have

  avoided the situation that led to the use of force. Kesinger v. Herrington, 381 F.3d 1243,

  1248 (11th Cir. 2004); Vinyard v. Wilson, 311 F.3d 1340, 1347 (11th Cir. 2002); Crosby v.

  Monroe County, 394 F.3d 1328, 1333 (11th Cir. 2004) (courts must not “view the matter as

  judges from the comfort and safety of our chambers...[but rather] must see the situation

  through the eyes of the officer on the scene who is hampered by incomplete information

  and forced to make a split-second decision between action and inaction.”); Garczynski v.

  Bradshaw, 573 F.3d 1158, 1166 (11th Cir. 2009)(perspective is crucial, and the “only

  perspective that counts is that of a reasonable officer on the scene at the time the events

  unfolded.”).

         Throughout discovery in this case, Plaintiff’s attorneys and their expert have

  improperly slipped into the role of “Monday Morning Quarterback” in an effort to question

  certain tactics in hindsight. This misplaced effort includes wild assumptions that the

  deputies could have approached McBean differently, reasoned with McBean, tackled

  McBean, tazed McBean, or continued to allow McBean to simply exhibit the rifle on his

  shoulders. These assumptions, of course, discount that the deputies’ presence and countless


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  verbal commands already had failed and resulted in McBean remaining armed and pointing

  the weapon at the deputies. Moreover, binding Supreme Court precedent establishes that a

  plaintiff cannot “establish a Fourth Amendment violation based merely on bad tactics that

  result in a deadly confrontation that could have been avoided.” City & Cty. of San

  Francisco, Calif. v. Sheehan, 575 U.S. 600, 135 S. Ct. 1765, 1777, 191 L. Ed. 2d 856

  (2015); Btesh v. City of Maitland, Fla., No. 6:10-CV-71-ORL-19DAB, 2011 WL 3269647,

  at *20 (M.D. Fla. July 29, 2011), aff'd sub nom. Btesh v. City of Maitland, FL, 471 F. App'x

  883 (11th Cir. 2012) (same); see also Ansley v. Heinrich, 925 F.3d 1339, 1344 (11th Cir.

  1991)(negligent conduct alone cannot form the basis of a section 1983 claim premised

  upon the Fourth Amendment).

         In Btesh, supra, the Middle District was faced with resolving a similar challenge by

  a plaintiff seeking to avoid summary judgment in a deadly force case. There, the plaintiff

  urged that if the officer had, for instance, interviewed a witness and transitioned to a Taser

  after the subject locked a door, then maybe the events would have unfolded differently.

  The court correctly noted that these factors do not support an actionable Fourth

  Amendment claim:

         [The expert’s] testimony that [the officer] should have employed different
         police tactics or investigative techniques which possibly could have
         prevented the shooting of [the plaintiff] injects impermissible hindsight into
         the analysis and does not, by itself, permit a reasonable inference that [the
         officer’s] use of force was objectively unreasonable under the circumstances
         at the moment she shot [the plaintiff].

  Id. at *23. (emphasis in original).

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         The Middle District’s opinion is instructive sub judice. It is impossible to compare

  the Btesh facts and still conclude that Peraza’s use of deadly force was in any way less

  justified than the Maitland officer’s. Quite to the contrary, because McBean was armed

  with a weapon and Btesh was not.

         In Btesh, officers were dispatched to a residence and confronted with a 55-year-old

  schizophrenic. The responding officers were unaware prior to arrival that the plaintiff had

  a mental handicap but were told that he was crazy. Id. at *3. The plaintiff’s caretaker

  advised the officers that she had been struck and revealed a bruise on her forehead. Id. at

  *6. Two officers entered with guns drawn, before even making contact. Once the officers

  were inside, the plaintiff flung his bedroom door open and appeared in the doorway “with

  his hands closed together near his chest,” but with no observable weapon. Id. at *7. The

  plaintiff yelled at the officers and ordered them out of his home, while appearing agitated,

  aggravated, and upset. Id. The officers gave verbal commands to the plaintiff to stop. Id.

  The plaintiff ignored the commands and shut the front door, locking the first officer

  outside. Id. The plaintiff returned from his front door and quickly walked toward the

  second officer with his hands closed together, with no weapon (much unlike McBean, who

  had a rifle on his shoulders). Id. at *8. As the plaintiff approached, the officer shot the

  plaintiff multiple times. Id.

         In assessing the force, the court noted that officers face no less danger simply

  because a suspect’s resistance is secondary to mental illness instead of criminal intent.

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  Indeed, Btesh’s expert conceded that officers face greater danger when confronted with

  a violent, mentally unstable suspect as compared to a violent but stable suspect who

  comprehends the officer’s commands.            Id. at *13. 1 So the Btesh court, rather than

  considering impertinent factors such as the suspect’s subjective excuses for violence,

  properly focused on the subject’s objective presentation, aggression, and disobedience as

  witnessed by the deputies:

         [The plaintiff’s] failure to obey the commands of [the officers] objectively
         indicated that [the plaintiff] had dangerous propensities. Prior to entering
         [the plaintiff’s] apartment, [the officers] gave two verbal commands for the
         suspected assailant to come out of the apartment, and there was no response.
         When [the plaintiff] first appeared to Officer Denicola inside the apartment,
         he failed to comply with Officer Denicola’s request to stop and show his
         hands. [The plaintiff] also failed to comply with Officer Payne’s instructions
         to stop as he aggressively walked toward the front door. After locking Officer
         Payne outside the apartment, [the plaintiff] again failed to comply with
         Officer Denicola’s command to stop and show his hands as he aggressively
         approached Officer Denicola. The danger presented by [the plaintiff’s]
         failure to obey commands was enhanced by the fact that the commands were
         given while Officers Denicola and Payne had their guns drawn upon [the
         plaintiff].

  Id. at *20. (internal citations omitted).

         As in Btesh, the officers here gave McBean multiple opportunities to drop his rifle

  and surrender. But McBean refused, did not go prone, remained armed, and aimed the

  weapon at the officers. When violent propensities and failure to obey commands are

  coupled with strong resistance, deadly force may be used without additional warning. Id.


  1
   Suffice it to say that there is no support for the notion that officers must downgrade their use of
  force in self-defense of a mentally ill suspect. Any such notion would contravene Graham.
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   at *21. Simply put, the law does not require officers in a tense and dangerous situation to

   wait until the suspect actually uses a deadly weapon to act to stop the suspect. Long v.

   Slaton, 508 F.3d 576, 581 (11th Cir. 2007); Jean-Baptiste v. Guitierrez, 627 F.3d 816 (11th

   Cir. 2010)(officers not required to “wait and hope [] for the best.”)(citing Scott v. Harris,

   550 U.S. 372, 381, 385, 127 S.Ct. 1769, 1778 (2007)).

          In McCormick v. City of Fort Lauderdale, 333 F.3d 1234 (11th Cir. 2003), the

   Eleventh Circuit affirmed the court’s grant of summary judgment in a deadly force

   situation. In that case, a police officer encountered a man he knew to be mentally disturbed,

   who possessed a stick (a weapon certainly less dangerous than McBean’s air rifle).

   According to the plaintiff, deadly force was not reasonable because he complied and lifted

   his hands in submission. The officer, though, interpreted the plaintiff’s movement as

   raising the stick, fired a deliberate shot, and then another. Despite the plaintiff’s subjective

   denial that he posed a threat to the officer, the officer still had reason to believe the plaintiff

   was violent, and that, coupled with the ineffectiveness of a lower use of less-than-deadly

   force (pepper spray), justified the use of deadly force.           “[The plaintiff’s] subjective

   perceptions have little bearing on how a reasonable officer in [the officer’s] position would

   have perceived [the plaintiff] as a threat.” Id. at 1246; see also Pace v. Capobianco, 283

   F.3d 1275, 1281 (11th Cir. 2002)(deadly force against a suspect that was attempting to flee

   after committing a violent felony was reasonable).




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             Finally, in Martinez v. City of Pembroke Pines, 648 Fed. Appx. 888 (11th Cir. 2016),

   the Eleventh Circuit affirmed summary judgment in favor of a police officer who used

   deadly force against a mentally ill individual that was armed with a handcuff (far less

   deadly than a rifle). The Eleventh Circuit noted that an officer is not constitutionally

   required to wait until the moment a suspect uses a deadly weapon to stop the suspect. Id.

   at 894.

             Sub judice, the record establishes that the deputies saw McBean holding what

   appeared to be a real rifle; the deputies repeatedly yelled commands at McBean to “stop,”

   “police,” “drop the weapon;” the commands were extremely loud; McBean did not drop

   the weapon; the level of perceived risk increased as McBean disregarded the deputies’ clear

   verbal commands to stop and drop his weapon, and that McBean ultimately pointed the

   weapon toward the deputies. Facts, ¶¶ 45-58. At that time, Peraza fired. Facts, ¶ 58.

   Again, as in Long and Martinez, Peraza was not required to wait any longer to resort to

   deadly force. Based upon the totality of facts, vantage point, and circumstances known to

   Peraza, that decision was reasonable.2 Peraza is entitled to judgment.




   2
     The analysis in this section addressing the Fourth Amendment claim applies equally to the
   common law battery (excessive force) claim against Peraza since an officer cannot commit a
   common law battery while utilizing objectively reasonable force. City of Miami v. Sanders, 672
   So.2d 46, 48 (Fla. 3d DCA 1996).

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          B.     Qualified immunity and Peraza– at least arguable probable cause to use
                 deadly force

          The defense of qualified immunity protects government officials performing

   discretionary functions from suit in their individual capacities unless their conduct violates

   “clearly established statutory or constitutional rights of which a reasonable person would

   have known.” Hope v. Pelzer, 536 U.S. 730 (2002). The purpose is to “allow government

   officials to carry out their discretionary duties without fear of personal liability or harassing

   litigation, protecting from suit all but the plainly incompetent or one who is knowingly

   violating the federal law.” Lee v. Ferraro, 248 F. 3d 1188, 1194 (11th Cir. 2002). Qualified

   immunity is an “entitlement not to stand trial or face the other burdens of litigation.”

   Gonzalez v. Reno, 325 F.3d 1228 (11th Cir. 2003) (emphasis added). In the Eleventh

   Circuit, qualified immunity is the rule rather than the exception. Lassiter v. Alabama A&M

   Univ., 28 F. 3d 1146 (11th Cir. 1994) (en banc).

          The Supreme Court’s two-part test to determine the application of qualified

   immunity is set forth in Saucier v. Katz, 121 S. Ct. 2151 (2001). While the test can be done

   in any order, the Court must determine whether Plaintiff’s allegations, taken as true,

   establish a constitutional violation. If the Court finds that the allegations demonstrate

   constitutionally impermissible conduct, the next question is to determine whether the state

   actor’s conduct “violated clearly established statutory or constitutional rights of which a

   reasonable person should have known.” Id. The second inquiry is purely objective and

   turns upon whether the official could reasonably have believed his or her conduct to be

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   lawful in view of clearly established law, and the information possessed by the official at

   the time the conduct occurred. Harlow v. Fitzgerald, 102 S. Ct. 2727, 2738; Hardin v.

   Hayes, 957 F. 2d 845, 848 (11th Cir. 1992).

          A right may be clearly established for qualified immunity purposes in one of
          three ways: (1) case law with indistinguishable facts clearly establishing the
          constitutional right; (2) a broad statement of principle within the
          Constitution, statute, or case law that clearly establishes a constitutional
          right; or (3) conduct so egregious that a constitutional right was clearly
          violated, even in the total absence of case law.

   D.H., a minor, etc. v. Clayton County School District, 830 F.3d 1306, 1318 (11th Cir. 2016),

   citing Hill v. Cundiff, 797 F.3d 948, 979 (11th Cir. 2015).

          In deadly force cases, an officer is entitled to qualified immunity not just when a

   reasonable officer would believe that deadly force was justified, but if he “reasonably

   could have believed that probable cause existed, in light of the information possessed” to

   use such force, even if that belief was mistaken. Garczysnki, 573 F.3d at 1167 (emphasis

   added). Existing precedent must establish to a high degree that every objectively reasonable

   official standing in the defendant’s place would be on notice that what the officer was doing

   would be clearly unlawful given the circumstances. Pace, 283 F.3d at 1282. Importantly,

   the “preexisting law must give real notice of practical value to government officials,

   considering the specific circumstances confronting them, and not just talk of some

   generalized, abstract intellectual concept” since officials are not “obligated to be creative

   or imaginative in drawing analogies from previously decided cases.” Adams v. St. Lucie

   County Sheriff’s Dep’t, 962 F.2d 1563, 1571 (11th Cir. 1992). “Unless the government

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   agent’s act is so obviously wrong, in the light of pre-existing law, that only a plainly

   incompetent officer or one who was knowingly violating the law would have done such a

   thing, the government actor has immunity from suit.” Pace, 283 F.3d at 1282.

          Sub judice, there can be no doubt that Peraza is entitled to qualified immunity. After

   Peraza was “indicted after shooting [McBean] who: (1) was walking down the street with

   an air rifle which appeared to be a firearm; (2) failed to obey officers’ commands to drop

   the weapon; and (3) pointed the weapon towards officers before being shot,” Peraza

   asserted that he was “entitled to immunity from prosecution under sections 776.012(1) and

   776.032(1), Florida Statutes (2013), more commonly known as Florida’s “Stand Your

   Ground” law.” State v. Peraza, 226 So. 3d 937, 939 (Fla. Dist. Ct. App. 2017), review

   granted, No. SC17 1978, 2018 WL 2073456 (Fla. Feb. 1, 2018), and approved, 259 So. 3d

   728 (Fla. 2018).

          The trial court conducted a six-day evidentiary hearing. Id. During the hearing, the

   court heard from 31 defense witnesses, including six witnesses tendered as experts, along

   with five state witnesses. Id. The trial court further examined numerous exhibits including

   911 recordings, police dispatch recordings, several dozen photographs, the air rifle, a .22

   caliber rifle, and other items and demonstrative aids. Id. The court also conducted a view

   of the scene. Id. Following the hearing, the circuit court issued a 36 page order including

   findings of fact and conclusions of law which determined that “[Peraza’s] application of

   deadly force in the instant case was objectively reasonable.” See App. L., p. 34. (emphasis


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   added).

          The State appealed to the Fourth District Court of Appeal. The appellate court

   confirmed Peraza’s entitlement to Stand Your Ground immunity:

          We conclude the circuit court’s findings of fact are supported by competent
          substantial evidence. The record supports the circuit court’s finding that the
          officer’s account of the incident was consistent with the other credible
          witnesses’ testimony and the physical evidence. The record also supports the
          circuit court’s finding that the man ignored repeated warnings to stop and
          drop the weapon, turned towards the officers, and pointed his weapon at the
          officers, causing the officer to be in fear for his life and the lives of others,
          prompting the officer to shoot at the man, resulting in the man’s death.

   State v. Peraza, 226 So. 3d 937, 946 (Fla. Dist. Ct. App. 2017), approved, 259 So. 3d 728

   (Fla. 2018) (emphasis added).

          The Florida Supreme Court accepted the matter for discretionary review and

   likewise determined that Peraza properly had been granted the defense:

          [W]e resolve the certified conflict and answer the certified question by
          holding that law enforcement officers are eligible to assert Stand Your
          Ground immunity, even when the use of force occurred in the course of
          making a lawful arrest. Based upon the trial court’s findings of fact, Deputy
          Peraza is entitled to that immunity and is therefore immune from criminal
          prosecution.

   State v. Peraza, 259 So. 3d 728, 733 (Fla. 2018).

          Under federal law, police officers only need to possess “arguable probable cause”

   to believe that a suspect poses a threat of physical injury to an officer or others. St. George

   v. Pinellas County, 285 F. 3d. 1334, 1337 (11th Cir. 2002). As discussed above, Florida

   courts have already determined that Peraza possessed significantly more than that.


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   Consequently, Peraza is entitled to qualified immunity and, accordingly, to judgment as to

   Count I. See also City and County of San Francisco v. Sheehan, 135 S.Ct. 1765 (2015)

   (Supreme Court stressed that qualified immunity cases require an intensive look at the

   facts, and that an officer “cannot be said to have violated a clearly established right unless

   the right’s contours were sufficiently definite that any reasonable officer in [his] shoes

   would have understood that he was violating it” and that “existing precedent...placed the

   statutory or constitutional question beyond debate.”).

          C.     Peraza’s use of deadly force was lawful under state law

          Under Florida law, “a presumption of good faith attaches to an officer’s use of force

   in making a lawful arrest and an officer is liable for damages only where the force used is

   clearly excessive.” City of Miami v. Sanders, 672 So.2d 46, 48 (Fla. 3d DCA

   1996)(emphasis added). Under §776.05, Fla. Stat., an officer “need not retreat or desist

   from efforts to make a lawful arrest because of resistance or threatened resistance to the

   arrest” and may use any force, including deadly force, which he reasonably believes to be

   necessary to defend himself or another from bodily harm while making the arrest.” Terrell

   v. Smith, 668 F.3d 1244, 1252 (11th Cir. 2012) (officer need not retreat under Florida law).

   Importantly, the bodily harm need not even be serious bodily, or potentially deadly, but

   merely a reasonable belief that the force is in self-defense of bodily harm. Id.

          Absent proof that McBean dropped the rifle, surrendered, complied with verbal

   commands, and allowed the deputies to secure him (and there is no such proof whatsoever)


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   McBean remained a threat.        In fact, as discussed above, the Florida appellate court

   specifically reviewed the evidence surrounding Peraza’s use of force and determined that

   McBean “ignored repeated warnings to stop and drop the weapon, turned towards the

   officers, and pointed his weapon at the officers, causing the officer to be in fear for his life

   and the lives of others, prompting the officer to shoot at the man, resulting in the man’s

   death.” Accordingly, pursuant to §776.05 and §776.06, Fla. Stat., Peraza was well within

   his right under state law to use deadly force. Because Peraza’s decision to use deadly

   force was reasonable, and not clearly excessive, Peraza is entitled to judgment on Count

   XI. Sanders, supra.

          D.     Plaintiff’s common law claims are barred by Fla. Stat. §776.085.

          Florida Statute §776.085 provides:

                 It shall be a defense to any action for damages for personal
                 injury or wrongful death. . . that such action arose from injury
                 sustained by a participant during the commission or attempted
                 commission of a forcible felony. . . The defense authorized by
                 this section shall be established by evidence that the participant
                 has been convicted or such forcible felony or attempted
                 forcible felony, or by proof of commission of such crime or
                 attempted crime by a preponderance of the evidence.

          Forcible felony, as defined by Florida law, includes aggravated assault, aggravated

   battery and “any other felony which involves the use or threat of physical force or violence

   against any individual.” §776.08, Fla. Stat. (2013). The undisputed record establishes, by

   a preponderance of the evidence according to Florida’s Fourth District Court of Appeal,

   that McBean committed an aggravated assault when he brandished the rifle and violently

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   resisted police with a deadly weapon in hand. This created a well-founded fear that

   violence was imminent. See §§784.011, 784.021, 843.01, Florida Statutes; Miller v. State,

   636 So.2d 144, 151 (Fla. 1st DCA 1994) (per curiam) (engaging in a scuffle with officer

   during a detention, even an improper one, constitutes battery on a law enforcement officer).

          Based upon a preponderance of the evidence, McBean committed actions which bar

   Plaintiff’s common law claim as a matter of law.          Peraza is entitled to judgment.

   Fernandez v. City of Cooper City, 207 F.Supp.2d 1371, 1381-82 (S.D. Fla. 2002) (granting

   summary judgment based upon §776.085, Fla. Stat.)

          E.     Statutory immunity bars claim against Peraza

          Instanter, the complaint sues Peraza in his individual capacity for conduct within

   the course and scope of his employment as a BSO deputy. (DE 133, ¶ 9). The claim

   against Peraza thus is governed by §768.28, Florida Statutes, Florida’s Waiver of sovereign

   immunity in tort actions. In pertinent part, the statute mandates that:

          No officer, employee, or agent of the state or of any of its subdivisions shall
          be held personally liable in tort or named as a party defendant in any action
          for any injury or damage suffered as a result of any act, event, or omission
          of action in the scope of her or his employment or function, unless such
          officer, employee, or agent acted in bad faith or with malicious purpose or in
          a manner exhibiting wanton and willful disregard of human rights, safety, or
          property.

   §768.28(9)(a), Fla. Stat.

          Sub judice, there is no issue as to whether Peraza acted within the scope of his

   employment as a BSO deputy. Plaintiff affirmatively alleges that he did. (DE 133, ¶ 9).


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   This Court’s singular focus, then, is whether Peraza acted in bad faith, with malice, or in

   wanton and willful disregard of McBean’s rights and safety.

          Resolution of the issue of whether “the employee acted in bad faith, with malicious

   purpose, or in a manner exhibiting wanton and willful disregard... turns on a question of

   law.” Keck v. Eminisor, 104 So.3d 359, 361 (Fla. 2012). “[T]he trial judge must act as a

   gatekeeper in these circumstances, and should terminate civil proceedings when the

   immunity applies.” Willingham v. City of Orlando, 929 So.2d 43, 48 (Fla. 5th DCA 2006).

          “The phrase ‘bad faith,’ as used in section 768.28(9)(a), has been ‘equated with the

   actual malice standard.’” Peterson v. Pollack, No. 4D19-431, 2020 WL 698703, at *6

   (Fla. 4th DCA 2020), quoting Parker v. State Board of Regents, etc., 724 So.2d 163, 167

   (Fla. 1st DCA 1998). “The phrase ‘malicious purpose,’ as used in section 768.28(9)(a),

   has been interpreted as meaning the conduct was committed with “ill will, hatred, spite,

   [or] an evil intent.’” Id., quoting Eiras v. Florida, 239 F. Supp. 3d 1331, 1343 (M.D. Fla.

   2017) (citation and internal quotation marks omitted). “Or perhaps stated more simply,

   ‘the subjective intent to do wrong.’” Id.

          “The phrase ‘wanton and willful disregard of human rights [or] safety,’ as used in

   section 768.28(9)(a), has been interpreted as “conduct much more reprehensible and

   unacceptable than mere intentional conduct,’” Id., quoting Richardson v. City of Pompano

   Beach, 511 So. 2d 1121, 1123 (Fla. 4th DCA 1987), and “conduct that is worse than gross

   negligence.” Id., quoting Sierra v. Associated Marine Insts., Inc., 850 So. 2d 582, 593


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   (Fla. 2d DCA 2003). The Fourth District looked to criminal jury instructions and further

   defined “wanton” as “with a conscious and intentional indifference to consequences and

   with the knowledge that damage is likely to be done to persons or property,” and “willful”

   as “intentionally, knowingly and purposely.” Id.

          With those definitions in mind, the Fourth District Court of Appeal’s decision to

   affirm the grant of immunity to Peraza is instructive. The Fourth District analyzed the

   testimony of 36 different witnesses, including six experts, reviewed all of the evidence,

   consisting of 911 recordings, police dispatch recordings, several dozen photographs, the

   air rifle, a .22 caliber rifle, and other items and demonstrative aids, and conducted a view

   of the scene, State v. Peraza, 226 So. 3d at 939, and determined that the record properly

   supported a finding that Peraza was immune from prosecution under Florida’s Stand Your

   Ground law.

          Instanter, Florida’s sovereign immunity statute compels the same result. While

   Plaintiff’s complaint contains gratuitous, conclusory allegations of willful and wanton

   conduct, see DE 133 at && 52, 171, the record does not support that allegation. Peraza is

   entitled to the immunity afforded him by Florida=s sovereign immunity statute.

   §768.28(9)(a), Fla. Stat.

          WHEREFORE, Defendant, Peter Peraza, respectfully requests that this Honorable

   Court enter an order granting summary judgment in his favor and enter final judgment

   accordingly.


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                              CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on this 24th day of July, 2020, I electronically filed the
   foregoing document with the Clerk of Court by using the CM/ECF system. I further certify
   that I either mailed the foregoing document and the Notice of Electronic Filing by first
   class mail to any non CM/ECF participants and/or the foregoing document was served via
   transmission of Notice of Electronic Filing generated by CM/ECF to any and all active
   CM/ECF participants.


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